        Case 1:24-ml-00015-RBC             Document 1    Filed 01/03/24      Page 1 of 8




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


__________________________________________
                                          )
IN RE APPLICATION OF USA PURSUANT         )                 ML No: 24-15
TO 18 U.S.C. § 3512 FOR ORDER FOR         )
COMMISSIONER’S APPOINTMENT FOR            )
MONEY LAUNDERING INVESTIGATION            )
                                          )
__________________________________________)

Reference:     DOJ Ref. # CRM-182-75226

              APPLICATION OF THE UNITED STATES FOR AN ORDER
       FOR A COMMISSIONER’S APPOINTMENT PURSUANT TO 18 U.S.C. § 3512

       The United States of America, moving by and through its undersigned counsel,

respectfully submits this ex parte application for an Order, pursuant to 18 U.S.C. § 3512,

appointing the undersigned attorney, Courtney Lee, Trial Attorney, Office of International

Affairs, Criminal Division, U.S. Department of Justice (or a substitute or successor subsequently

designated by the Office of International Affairs), as a commissioner to collect evidence and to

take such other action as is necessary to execute this and any subsequent, supplemental requests

for assistance with the above-captioned criminal matter from Canada. In support of this

application, the United States asserts:

                                          RELEVANT FACTS

       1.      The Central Authority of Canada, the Ministry of Justice, submitted a request for

assistance (Request) to the United States, pursuant to the Treaty Between the United States of

America and the Government of Canada on Mutual Legal Assistance in Criminal Matters, U.S.-

Can., Mar. 18, 1985, S. TREATY DOC. NO. 100-14 (1988) (Treaty).



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        Case 1:24-ml-00015-RBC            Document 1        Filed 01/03/24      Page 2 of 8




       2.         As stated in the Request, the Royal Canadian Mounted Police (RCMP) and

Canada Revenue Agency (CRA) are investigating James Grant (Grant) for laundering the

proceeds of crime (money laundering), failing to report/regulatory offenses, and filing

false/deceptive tax returns and tax evasion which occurred in or about approximately November

2016 through September 2017, in violation of the criminal law of Canada, specifically,

sections 462.31, and 354 of the Criminal Code of Canada, section 74(1) of the Proceeds of Crime

(Money Laundering) and Terrorist Financing Act (PCMLTF), and sections 239(1)(a) and (d) of

the Income Tax Act (ITA). Under the Treaty, the United States is obligated to assist in response

to the Request.

       3.         According to Canadian authorities, in January 2017, the RCMP initiated an

investigation into Grant and his business, Canadian Bitcoins, 8159181 CANADA INC.

(Canadian Bitcoins). Investigation revealed that from approximately November 2016 through

September 2017, Grant laundered bitcoins derived from the sale of illicit drugs by a known dark

net drug dealer. In an unrelated U.S. investigation involving the sales of illicit drugs on the dark

net, the U.S. Postal Inspection Service (USPIS) uncovered two Poloniex bitcoin wallet accounts,

numbers XXXXX3384 and XXXXX2597, linked to Grant and a co-conspirator, Robert Duskes

(Duskes). Poloniex is a U.S. based digital asset exchange service offering cryptocurrency

wallets to their clients to facilitate the buying, selling and trading of cryptocurrency. The two

accounts were identified as part of a chain of bitcoin wallets transferring the proceeds of illicit

drug sales. Specifically, bitcoin traces revealed that proceeds of illicit drug sales were

transferred, in rapid succession, from bitcoin addresses linked to a known dark net drug dealer

through three different wallets (Wallets # 1, 2 and 3) before being deposited into the Poloniex

bitcoin wallets held by Grant and Duskes. The CRA’s review of the bitcoin traces revealed that

                                                                                                      2
        Case 1:24-ml-00015-RBC             Document 1        Filed 01/03/24       Page 3 of 8




Grant had misrepresented the source of and overstated the acquisition cost of bitcoins originating

from his Poloniex account that he later sold to Canadian Bitcoins. Grant’s sale of bitcoin to

Canadian Bitcoins resulted in a total of CAD 47,381 (approximately USD 35,365) of

underreported personal income for the 2017 tax year and CAD 64, 963 (approximately USD

48,488) of unreported corporate income for Canadian Bitcoins’ 2018 tax year.

        4.       Canadian authorities seek records from Poloniex to confirm the identity of

persons of interest in the investigation and facilitate the tracing and attribution of cryptocurrency

transactions believed to be the proceeds of criminal activity.

        5.      To further the investigation, Canadian authorities have asked U.S. authorities to

obtain certified business records from Poloniex, LLC pertaining to cryptocurrency wallet account

numbers XXXXX3384 and XXXXX2597.

                                      LEGAL BACKGROUND

        6.      A treaty 1 constitutes the law of the land. U.S. Const. art. VI, cl. 2. The

provisions of a treaty have equal footing with acts of Congress and are binding on the courts.

See Asakura v. City of Seattle, 265 U.S. 332, 341 (1924); United States v. The Peggy, 5 U.S. 103

(1801); United States v. Emuegbunam, 268 F.3d 377, 389 (6th Cir. 2001). The provisions of a

treaty should be construed liberally “to give effect to the purpose which animates it.” United

States v. Stuart, 489 U.S. 353 (386) (1989) (internal quotations marks omitted). To the extent

that the provisions of a treaty are inconsistent with a preexisting statutory provision, the treaty

supersedes the statute. Zschernig v. Miller, 389 U.S. 429, 440-41 (1968).




1
 The term “Treaty” used herein encompasses bilateral treaties, multilateral conventions, instruments, and
protocols.
                                                                                                       3
        Case 1:24-ml-00015-RBC            Document 1       Filed 01/03/24       Page 4 of 8




       7.      The United States and Canada entered into the Treaty to promote more effective

judicial cooperation and assistance between the parties in criminal matters. See Treaty, pmbl.

The Treaty obligates each party, upon request, to provide assistance to the other in criminal

investigations, prosecutions, and related proceedings, including assistance in serving documents,

obtaining testimony, statements, and records, and executing searches and seizures. Treaty,

art. II. In addition, the Treaty, like 18 U.S.C. § 3512, authorizes federal courts to use

compulsory measures to further the execution of such requests. Art. VII, ¶ 1 (“The Courts of the

Requested State shall have jurisdiction to issue subpoenas. search warrants or other orders

necessary to execute the request.”).

       8.      When executing a treaty or non-treaty request for assistance from a foreign

authority, an attorney for the government may file an application to obtain any requisite court

orders under 18 U.S.C. § 3512. This section authorizes a federal court to issue such orders and

provides in pertinent part:

       Upon application, duly authorized by an appropriate official of the Department of
       Justice, of an Attorney for the Government, a Federal judge may issue such orders
       as may be necessary to execute a request from a foreign authority for assistance in
       the investigation or prosecution of criminal offenses, or in proceedings related to
       the prosecution of criminal offenses, including proceedings regarding forfeiture,
       sentencing, and restitution.

                       *                       *                      *

       [A]n application for execution of a request from a foreign authority under this
       section may be filed . . . in the District of Columbia.

                       *                       *                      *

       The term “foreign authority” means a foreign judicial authority, a foreign
       authority responsible for the investigation or prosecution of criminal offenses or
       for proceedings related to the prosecution of criminal offenses, or an authority
       designated as a competent authority or central authority for the purpose of making
       requests for assistance pursuant to an agreement or treaty with the United States
       regarding assistance in criminal matters.
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        Case 1:24-ml-00015-RBC              Document 1         Filed 01/03/24       Page 5 of 8




18 U.S.C. § 3512(a)(1), (c)(3), (h)(2).

        9.      Congress enacted this section to make it “easier for the United States to respond

to [foreign] requests by allowing them to be centralized and by putting the process for handling

them within a clear statutory scheme.” 155 Cong. Rec. 6,810 (2009) (statement of Sen.

Whitehouse); Foreign Evidence Request Efficiency Act of 2009, Pub. L. No. 111-79, 123 Stat.

2086. 2 This section provides clear authority for the federal courts, upon application duly

authorized by an appropriate official of the Department of Justice, to issue orders that are

necessary to execute a foreign request.

        10.     An application is duly authorized by an appropriate official of the Department of

Justice when the Office of International Affairs 3 has reviewed and authorized the request and

executes the request itself or delegates execution to another attorney for the government. 4 Upon

such a duly authorized application, Section 3512 authorizes a federal judge 5 to issue “such orders


2
  Prior to the enactment of 18 U.S.C. § 3512, the United States routinely utilized the procedures
authorized by 28 U.S.C. § 1782 (“commissioner” process) to execute requests from foreign authorities.
See In re Request from the United Kingdom, 685 F.3d 1, 11 (1st Cir. 2012) (18 U.S.C. § 3512 provides a
more streamlined process than 28 U.S.C. § 1782, the statute under which foreign requests were executed
prior to enactment of section 3512); see also Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241,
247-49 (2004) (describing history of Section 1782). When enacting Section 3512, Congress anticipated
that improved U.S. handling of foreign requests would ensure reciprocity in response to U.S. requests for
assistance in its criminal investigations. See, e.g., 155 Cong. Rec. 10,093 (2009) (statement of Rep.
Schiff).
3
 The Attorney General, through regulations and Department of Justice directives, delegated to the Office
of International Affairs the authority to serve as the “Central Authority” under treaties and executive
agreements between the United States and other countries pertaining to mutual assistance in criminal
matters. See 28 C.F.R. 0.64-1, 0.64-4, and Appendix to Subpart K, Directive Nos. 81B and 81C (2018).
4
 “Section 3512 can be invoked only when authorized by OIA. . . . Such authorization occurs when an
attorney for the government, or his or her office, receives the referral of the request for execution from
OIA.” Memorandum from the Deputy Attorney General to Department of Justice Components (May 16,
2011) (on file with the Office of International Affairs).
5
 The term “federal judge” includes a magistrate judge. See 18 U.S.C. § 3512(h)(1); Fed. R. Crim. P.
1(b)(3)(B) (including a magistrate judge in the definition of federal judge).
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        Case 1:24-ml-00015-RBC           Document 1        Filed 01/03/24     Page 6 of 8




as may be necessary to execute [the] request,” including: (1) search warrants under Fed. R.

Crim. P. 41; (2) orders for electronic records under 18 U.S.C. § 2703; (3) orders for pen registers

or trap and trace devices under 18 U.S.C. § 3123; and (4) orders appointing a person to direct the

taking of testimony or statements and/or the production of documents or other things. See 18

U.S.C. § 3512(a)(1)--(b)(1). In addition, a federal judge may order any necessary procedures to

facilitate the execution of the request, including any procedures requested by the foreign

authority to facilitate its use of the evidence. 18 U.S.C. § 3512(a)(1).

       11.     Section 3512 also authorizes any person appointed to direct the taking of

testimony or statements and/or the production of documents. The appointed person has authority

to: (1) issue an order requiring a person to appear and/or to produce documents or other things;

(2) administer any necessary oaths; and (3) take testimony or statements and receive documents

or other things. 18 U.S.C. § 3512(b)(2). In ordering a person to appear and/or to produce

documents or other things, the person appointed, commonly referred to as the “commissioner,”

typically uses a subpoena entitled “Commissioner’s Subpoena.” Any such subpoena may be

served or executed anywhere in the United States. 18 U.S.C. § 3512(f).



                                     REQUEST FOR ORDER

       12.     The Office of International Affairs has reviewed and authorized the Request and

is executing the Request itself. Consequently, this application for an Order appointing the

undersigned attorney as a commissioner to collect evidence and to take such other action as is

necessary to execute the Request has been “duly authorized” within the meaning of

Section 3512. In addition, the Request was submitted by an appropriate “foreign authority,” the

Minister of Justice, the designated Central Authority in Canada, and seeks assistance in the

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        Case 1:24-ml-00015-RBC            Document 1        Filed 01/03/24      Page 7 of 8




investigation of laundering the proceeds of crime (money laundering), failing to report/regulatory

offenses, and filing false/deceptive tax returns and tax evasion – criminal offenses in Canada.

The requested Order is necessary to execute the Request, and the assistance requested, i.e., the

production of account records, falls squarely within that contemplated by Section 3512 and the

Treaty. Finally, this application was properly filed in the District of Columbia.

       13.     This application is being made ex parte, consistent with U.S. practice in its

domestic criminal matters. The Treaty itself contemplates the need for confidentiality with

respect to all aspects of the execution of a request. Specifically, Article VI, paragraph 5,

provides: “The Requested State shall use its best efforts to keep confidential a request and its

contents except when otherwise authorized by the Requesting State.”

       14.     When executing a foreign request for assistance in a criminal matter, both

Section 3512 and the Treaty authorize the use of compulsory process comparable to that used in

domestic criminal investigations and/or prosecutions. Because subpoenas utilized in

U.S. criminal proceedings (i.e., grand jury and criminal trial subpoenas) are issued without notice

to any person other than the recipient (i.e., no notice to targets or defendants), orders and

commissioner’s subpoenas issued in execution of a foreign request pursuant to Section 3512 and

the applicable treaty likewise should require no notice other than to the recipients. This is true

even if the Requesting State, as here, seeks financial records, because the Right to Financial

Privacy Act, 12 U.S.C. §§ 3401 et seq., including its notice provisions, does not apply to the

execution of foreign requests for legal assistance. Young v. U.S. Dept. of Justice, 882 F.2d 633,

639 (2d Cir. 1989), cert. denied, 493 U.S. 1072 (1990); In re Letters of Request from the

Supreme Court of Hong Kong, 821 F. Supp. 204, 211 (S.D.N.Y. 1993); In re Letter of Request

for Judicial Assistance from the Tribunal Civil de Port-Au-Prince, Republic of Haiti, 669 F.

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        Case 1:24-ml-00015-RBC           Document 1       Filed 01/03/24      Page 8 of 8




Supp. 403, 407 (S.D. Fla. 1987). Accordingly, this Court should authorize a commissioner to

collect the evidence requested without notice to any person(s) or entity(ies) other than the

recipient(s) of any given commissioner’s subpoena.

       15.     Therefore, the United States respectfully requests that this Court issue the

attached Order, pursuant to 18 U.S.C. § 3512, appointing the undersigned attorney, Courtney

Lee, Trial Attorney, Office of International Affairs (or a substitute or successor subsequently

designated by the Office of International Affairs) as a commissioner, authorizing the undersigned

to take the actions necessary, including the issuance of commissioner’s subpoenas, as needed, to

collect the evidence necessary to execute any pending request for assistance and any subsequent,

supplemental requests in connection with the same matter, in a manner consistent with the

intended use of the evidence.

                                              Respectfully submitted,

                                              VAUGHN A. ARY
                                              DIRECTOR
                                              OFFICE OF INTERNATIONAL AFFAIRS
                                              OK Bar Number 12199



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